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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )            CASE NO. 8:05CR259
                                                  )
       vs.                                        )
                                                  )
CORY JAMES SHIFFLETT,                             )                      ORDER
                Defendant.                        )
                                                  )

       This matter is before the Court on the Unopposed Motion for Continuance of Change of Plea

Schedule filed by the Defendant, Cory James Shifflett (Filing No. 90).

       For good cause shown, the Motion shall be granted.

       IT IS ORDERED:

       1.      The Motion to continue the Plea hearing as to Defendant Cory James Shifflett

               (Filing No. 90) is granted;

       2.      The Change of Plea is rescheduled before District Judge Laurie Smith Camp on the

23rd day of March, 2006, at the hour of 2:00 p.m. in Courtroom No. 2, Third Floor, Roman L.

Hruska Courthouse, 111 S. 18th Plaza, Omaha, Nebraska.

       3.      Counsel shall abide by the requirements of NE Crim. 11.1(d) regarding the filing and

provisions of the petition to enter a plea of guilty and any written plea agreement.

       4.      On or before the date for the plea proceeding, counsel for plaintiff and for defendant

shall provide to the assigned probation officer their respective versions of the offense for purposes

of preparing the presentence investigation report.

       5.      For this defendant, the time between today’s date and the hearing on the anticipated

plea of guilty is excluded for purposes of computing the limits under the Speedy Trial Act. The

Court finds that failure to grant a continuance would result in a miscarriage of justice. See 18

U.S.C. §§ 3161(h)(1)(I), (h)(8)(A) & (h)(8)(B).

       DATED this 20th day of March, 2006.

                                                      BY THE COURT:
                                                      s/Laurie Smith Camp
                                                      United States District Judge
